273 F.2d 76
    BEACHVIEW BROADCASTING CORPORATION, Appellant,v.FEDERAL COMMUNICATIONS COMMISSION, Appellee,Tidewater Teleradio, Inc., Intervenor.
    No. 13583.
    No. 13913.
    No. 14001.
    United States Court of Appeals District of Columbia Circuit.
    October 22, 1958.
    
      On petition for rehearing.
      For original opinion see 104 U.S.App. D.C. 377, 262 F.2d 688.
      Before PRETTYMAN, Chief Judge, and EDGERTON, WILBUR K. MILLER, BAZELON, FAHY, WASHINGTON, DANAHER, BASTIAN and BURGER, Circuit Judges, in Chambers.
      PER CURIAM.
    
    
      1
      Upon consideration of appellant's petition for a rehearing en banc, of appellee's opposition, and of appellant's supplement to the petition, it is
    
    
      2
      Ordered by the court that the petition for rehearing en banc be, and it is hereby, denied.
    
    
      3
      MILLER, Circuit Judge, would grant the petition for rehearing en banc.
    
    
      4
      BAZELON, Circuit Judge.
    
    
      5
      I vote to grant the petition for rehearing in banc in order to reconsider this court's recent rulings which appear to render us powerless to restrain the Commission from employing shifting emphasis of comparative criteria obliterating any predictable pattern of decision.
    
    